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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO



  Civil Action No.:


  CHARLES HOYT,
  RODNEY DUGAR,
  VICTORIA STILZ,
  DWAYNE BRONK,
  NICOLE BAILEY,

  Individually and on behalf of all others similarly situated,

  Plaintiffs,

  v.

  AMAZON WEB SERVICES, INC.

  Defendant.



                CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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         Plaintiffs, Charles Hoyt, Rodney Dugar, Victoria Stiles, Dwayne Bronk, and Nicole Bailey,

  (hereinafter “Plaintiffs”), by and through their attorneys, file this Class Action Complaint

  individually and on behalf of all others similarly situated and in support thereof, state and aver as

  follows:

                                    NATURE OF THE ACTION

         1.      This Class Action Complaint seeks injunctive relief, including a temporary

  restraining order and preliminary injunctive relief, as well as damages on behalf of Plaintiffs

  (approximately 12 million subscribers and users of the social media application Parler) as a direct

  and proximate result of the actions of Defendant Amazon Web Services, Inc. (“AWS”), when it

  suspended Parler’s account effective January 10, 2021 at 11:59 PM PST.

                                  JURISDICTION AND VENUE

         2.      This Court has subject matter jurisdiction pursuant to the Class Action Fairness

  Act of 2005, 28 U.S.C. § 1332(d)(2), because this is a class action, including claims asserted on

  behalf of a nationwide class, filed under Rule 23 of the Federal Rules of Civil Procedure on behalf

  of approximately 12,000,000 subscribers and users of the social media application “Parler,” and

  the amount in controversy exceeds the jurisdictional amount of $5,000,000, exclusive of interest

  and costs.

         3.      This Court has personal jurisdiction over the Defendant AWS because Defendant

  has conducted business and committed many of the acts complained of in the state of Colorado,

  each state within the United States of America, as well as outside of the United States of America,

  via the use of digital communications, data transfers, data blocking, and other actions.
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         4.      Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b)(1), 1391(b)(2),

  1391(b)(3), 1391(c)(2), and/or 1391(d).

                                             PARTIES

         5.      All Plaintiffs identified herein, as well as the proposed class members, were

  subscribers and users of the social media application Parler and have suffered damages as a direct

  and proximate result of the actions of Defendant AWS, when it suspended Parler’s account

  effective January 10, 2021 at 11:59 PM PST.

         6.      Plaintiff, Charles Hoyt, is a citizen of the state of Colorado and was a subscriber

  and user of the social media application Parler. Mr. Hoyt has suffered damages as a direct and

  proximate result of the actions of Defendant AWS, when it suspended Parler’s account.

         7.      Plaintiff, Rodney Dugar, is a citizen of the state of California and was a subscriber

  and user of the social media application Parler. Mr. Dugar has suffered damages as a direct and

  proximate result of the actions of Defendant AWS, when it suspended Parler’s account.

         8.      Plaintiff, Victoria Stilz, is a citizen of the state of Nevada and was a subscriber

  and user of the social media application Parler. Ms. Stilz has suffered damages as a direct and

  proximate result of the actions of Defendant AWS, when it suspended Parler’s account.

         9.      Plaintiff, Dwayne Bronk, is a citizen of the state of Illinois and was a subscriber

  and user of the social media application Parler. Mr. Bronk has suffered damages as a direct and

  proximate result of the actions of Defendant AWS, when it suspended Parler’s account.

         10.     Plaintiff, Nicole Bailey, is a citizen of the state of North Carolina and was a

  subscriber and user of the social media application Parler. Ms. Bailey has suffered damages as a

  direct and proximate result of the actions of Defendant AWS, when it suspended Parler’s account.


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         11.     Defendant Amazon Web Services, Inc., an Amazon.com, Inc. company, is a

  Delaware corporation with its principal place of business in Seattle, Washington. AWS is the

  world’s leading cloud service provider, capturing almost a third of the global market. See, Global

  Cloud Infrastructure Market Q3 2020, https://www.canalys.com/newsroom/worldwide-cloud-

  market-q320. This is almost double the next largest competitor and equal to the next three largest

  competitors combined.

                                               FACTS

         12.     Plaintiffs hereby incorporate by reference all preceding paragraphs of this

  Complaint with the same force and effect as if set forth herein.

         13.     All Plaintiffs identified herein, as well as the proposed class members, were

  subscribers and users of the social media application Parler when AWS suspended Parler’s

  account effective January 10, 2021 at 11:59 PM PST.

         14.     The social media application Parler is owned and operated by Parler, LLC, a

  Nevada limited liability corporation with its principal place of business in Henderson, Nevada.

         15.     All subscribers and users of Parler were required to sign a contract with Parler

  called a “User Agreement” that sets forth and governs the legal relationship, access to services

  and products, and terms of use between Parler and its subscribers and users.

         16.     As stated in a Complaint filed by Parler against AWS on January 11, 2021 (U.S.

  District Court Case No. 2:21-cv-00031, Western District of Washington at Seattle), Parler

  contracts with AWS to provide the cloud computing services Parler needs for its applications and

  website to function on the Internet. Further, both the applications and the website are written to

  work with AWS’s technology. To have to switch to a different service provider would require


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  rewriting that code, meaning Parler will be offline for a financially devastating period of time.

  (Exhibit A - Parler Complaint at ¶ 13).

          17.     On January 9, 2021, the Internet news site BuzzFeed posted an article with

  screenshots of a letter from AWS to Parler informing Parler that its account would be suspended

  at 11:59 pm PST on January 10, 2021, less than thirty hours later. (See, John Paczkowski, Amazon

  Will Suspend Hosting For Pro-Trump Social Network Parler, BuzzFeed, Jan. 9, 2021),

  https://www.buzzfeednews.com/article/johnpaczkowski/amazon-parler-aws. (Exhibit B).

          18.     As also stated in the Parler Complaint, AWS, in fact, suspended Parler’s account

  effective Sunday, January 10, 2021 at 11:59 PM PST. Parler was advised by AWS that the basis

  for the suspension was that AWS was not confident that Parler could properly police its platform

  regarding content that encourages or incites violence against others. However, according the

  Parler complaint, on Friday, January 8, 2021, one of the top trending tweets on the Twitter social

  media application was “Hang Mike Pence” and it appears that AWS took no action against

  Twitter, has any plans to take action, nor has made any threats to suspend Twitter’s account.

  (Exhibit A - Parler Complaint at ¶ 3).

          19.     Plaintiffs, as well as the overwhelming majority of Parler subscribers and users,

  are decent, law-abiding human beings who have complied with the terms of the Parler User

  Agreement and have not engaged in any type of offensive, violent, or hate speech of any kind.

          20.     By suspending Parler’s account, AWS intentionally interfered with the contractual

  relationship between Parler and its subscribers and users and effectively denied Plaintiffs access

  to the products and services provided by Parler pursuant to the User Agreement between Parler

  and the Plaintiffs.


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         21.     Further, by suspending Parler’s account, AWS caused Plaintiffs to be unable to

  engage in legal, protected, and private communications with each other through the Parler

  application or view any content that had been posted and that resided exclusively within the Parler

  application.

         22.     Given the intense public sentiment surrounding the 2020 elections, AWS’s actions

  could not have been taken at a worse time and, by all appearances, was motivated by political

  animus in order to intentionally cause Parler subscribers and users to have highly unpleasant

  mental reactions, outrage, anger, frustration, shame, humiliation, chagrin, disappointment, worry,

  inconvenience, and/or severe emotional distress.

                                 CLASS ACTION ALLEGATIONS

         23.     Plaintiffs hereby incorporate by reference all preceding paragraphs of this

  Complaint with the same force and effect as if set forth herein.

         24.     The claims asserted herein all derive directly from a course of conduct by

  Defendant AWS.

         25.     Defendant has engaged in uniform and standardized conduct towards the class.

         26.     Defendant has not differentiated, in degree of care or candor, in its actions among

  individual class members.

         27.     The objective facts on these subjects are all the same for all class members.

         28.     Within each Claim for Relief asserted by the class, the same legal standards

  govern. Additionally, many states, and for some claims all states, share the same legal standards

  and elements of proof, facilitating the certification of multistate or nationwide class or classes for

  some or all claims.


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                          The Nationwide Parler Subscriber/User Class

         29.     Plaintiffs bring this action and seek to certify and maintain it as a class action

  pursuant to Fed. R. Civ. P. 23(b)(3) on behalf of themselves and a Nationwide Parler

  Subscriber/User Class defined as follows:

                 All persons in the United States who were subscribers/users of the Parler
                 social media application as of January 10, 2021 at 11:59 PM PST.

         30.     This action satisfies the numerosity, ascertainability, commonality, predominance

  typicality, adequacy, and superiority requirements of those provisions of the Federal Rules of

  Civil Procedure.

         31.     Excluded from the Nationwide Parler Subscriber/User Class are Defendant AWS,

  any entity in which Defendant AWS has a controlling interest, and Defendant AWS’s officers,

  directors, legal representatives, successors, subsidiaries, and assigns. Also excluded from the

  Class is any judge, justice, magistrate, or judicial officer presiding over this matter and the

  members of their immediate families and judicial staff.

                                         Statewide Classes

         32.     Alternatively, pursuant to Fed. R. Civ. P. 23 (b)(3), Plaintiffs assert state and

  common law claims for Injunctive Relief (Count One), Intentional Interference with Contractual

  Obligations (Count Two), and Intentional Infliction of Emotional Distress (Count Three), on

  behalf of separate statewide classes for each state in which Defendant has done business in which

  Plaintiffs and/or members of the Class reside, defined as follows:

                 All persons in each State who were subscribers/users of the Parler
                 social media application as of January 10, 2021 at 11:59 PM PST.




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            33.   Excluded from each Statewide Class are Defendant AWS, any entity in which

  Defendant AWS has a controlling interest, and Defendant AWS’s officers, directors, legal

  representatives, successors, subsidiaries, and assigns. Also excluded from the Class is any judge,

  justice, magistrate, or judicial officer presiding over this matter and the members of their

  immediate families and judicial staff.

                                 Class Certification is Appropriate

            34.   The proposed Nationwide Class, or alternatively, the separate Statewide Classes

  (collectively, the “Class” as used in this paragraph) meet the requirements of Fed. R. Civ. P. 23

  (b)(3).

                                  Numerosity and Ascertainability

            35.   This action satisfies the requirements of Fed. R. Civ. P. 23(a)(1). There were

  approximately 12,000,000 subscribers and users of the Parler application nationwide as of

  January 10, 2021 at 11:59 PM PST, and from hundreds of thousands to millions of subscribers

  and users of the Parler application in each of the States as of January 10, 2021 at 11:59 PM PST.

  As such, individual joinder of all Class members is impracticable.

            36.   The Class is ascertainable because its members can be readily identified using data

  obtained from either Parler, LLC records and/or data currently in the possession of AWS.

            37.   Plaintiffs anticipate providing appropriate notice to the certified Class, in

  compliance with Fed. R. Civ. P. 23(c)(1)(2)(A) and/or (B), to be approved by the Court after class

  certification, or pursuant to Court order under Fed. R. Civ. P. 23(d).




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                                   Commonality and Predominance

         38.      This action satisfies the requirements of Fed. R. Civ. P. 23(a)(2) and 23(b)(3)

  because there are many questions of law and fact common to the claims of the Plaintiffs and other

  members of the Class and those questions predominate over questions that may affect individual

  Class members. These common questions include, without limitation, the following:

               a. Whether AWS suspended the Parler account on January 10, 2012 at 11:59 PM
                  PST;

               b. Whether AWS knew or reasonably should have known that Parler had a User
                  Agreement (contract) with its subscribers and users as of January 10, 2012 at 11:59
                  PM PST;

               c. Whether AWS intentionally interfered with the User Agreement (contract)
                  between Parler and its subscribers and users;

               d. Whether AWS’s interference with the User Agreement (contract) between Parler
                  and its subscribers and users was improper;

               e. Whether AWS’s interference with the User Agreement (contract) between Parler
                  and its subscribers and users caused Plaintiffs damages;

               f. Whether AWS also engaged in extreme and outrageous conduct;

               g. Whether AWS did so recklessly or with the intent of causing Plaintiffs have highly
                  unpleasant mental reactions, outrage, anger, frustration, shame, humiliation,
                  chagrin, disappointment, worry, inconvenience, and/or severe emotional distress;
                  and,

               h. Whether AWS’s conduct caused Plaintiffs to suffer have highly unpleasant mental
                  reactions, outrage, anger, frustration, shame, humiliation, chagrin,
                  disappointment, worry, inconvenience, and/or severe emotional distress.

                                               Typicality

         39.      This action satisfies the requirements of Fed. R. Civ. P. 23(a)(3) because

  Plaintiffs’ claims are typical of the claims of other Class members and arise from the same course



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   of conduct by Defendant AWS. The relief Plaintiffs seek is also typical of the relief sought for

   the absent Class members.

                                                Adequacy

          40.     Plaintiffs will fairly and adequately represent and protect the interests of the Class.

   Plaintiffs have retained counsel competent and experienced in complex litigation and class

   actions. Plaintiffs have no interests that are antagonistic to those of the Class, and there are no

   defenses unique to Plaintiffs.

          41.     Plaintiffs and their counsel are committed to vigorously prosecuting this action on

   behalf of the Class and have the financial resources to do so. Neither Plaintiffs nor their counsel

   have any interests adverse to those of the Plaintiffs or the Class.

                                               Superiority

          42.     This action satisfies the requirements of Fed. R. Civ. P. 23(b)(2) because

   Defendant AWS has committed acts generally applicable to the entire Class as a whole.

          43.     This action further satisfies the requirements of Fed. R. Civ. P. 23(b)(3) because

   a class action is superior to other available methods for the fair and efficient adjudication of this

   controversy. The common questions of law and fact regarding Defendant AWS’s conduct and

   responsibility predominate over any question affecting only individual Class members.

          44.     Because the damages suffered by each individual Class member may be relatively

   small, the expense and burden of individual litigation would make it very difficult or impossible

   for individual Class members to redress the wrongs done to each of them individually, such that

   most or all Class members would have no rational economic interest in individually controlling

   the prosecution of specific actions, and the burden imposed on the judicial system by individual


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   litigation by even a small fraction of the Class would be enormous, making class adjudication the

   superior alternative under Fed. R. Civ. P. 23(b)(3)(A).

          45.     The conduct of this action as a class action presents far fewer management

   difficulties, far better conserves judicial resources and the parties’ resources, and far more

   effectively protects the rights of each Class member than would piecemeal litigation. Compared

   to the expense, burdens, inconsistencies, economic infeasibility, and inefficiencies of

   individualized litigation, the challenges of managing this action as a class action are substantially

   outweighed by the benefits to the legitimate interests of the parties, the court, and the public of

   class treatment in this Court, making class adjudication superior to other alternatives, under Fed.

   R. Civ. P. 23(b)(3)(D).

          46.     Plaintiffs are not aware of any obstacles likely to be encountered in the

   management of this action that would preclude its maintenance as a class action. Fed. R. Civ. P.

   23 provides the Court with authority and flexibility to maximize the efficiencies and benefits of

   the class mechanism and reduce management challenges. The Court may, on motion of Plaintiffs

   or on its own determination, certify nationwide, statewide, and/or multistate classes for claims

   sharing common legal questions; utilize the provisions of Fed. R. Civ. P. 23(c)(4) to certify any

   particular claims, issues, or common questions of fact or law for class-wide adjudication; certify

   and adjudicate bellwether class claims; and utilize Fed. R. Civ. P. 23(c)(5) to divide any class

   into subclasses.

          47.     The Class and/or subclasses expressly disclaim any recovery in this action for

   economic damages resulting from the actions of Defendant AWS without waiving or dismissing

   such claims.


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                                           COUNT ONE
                                       INJUNCTIVE RELIEF

          48.     Plaintiffs hereby incorporate by reference all preceding paragraphs of this

   Complaint with the same force and effect as if set forth herein.

          49.     Plaintiffs respectfully request that the Court enter a Temporary Restraining Order

   and order Defendant AWS to immediately restore and maintain Parler’s account until further

   notice from this Court, and to refrain from suspending, terminating, or failing to provide any

   services previously provided under Parler’s User Agreement with its subscribers and users.

          50.     Plaintiffs’ interests in exercising their rights to enter and maintain their User

   Agreement (contract) with Parler, as well as their rights to engage in legal, protected, and private

   communications with each other through the Parler application, or view any content that had been

   posted and resides exclusively within the Parler application, outweigh any interests Defendant

   AWS may have in attempting to suspend Parler’s account and/or censor or deny service to Parler

   subscribers and users.

                               COUNT TWO
         INTENTIONAL INTERFERENCE WITH CONTRACTUAL OBLIGATIONS

          51.     Plaintiffs hereby incorporate by reference all preceding paragraphs of this

   Complaint with the same force and effect as if set forth herein.

          52.     The User Agreement between Parler and its subscribers and users is a valid

   contract.

          53.     As subscribers and users of the Parler application, Plaintiffs have all entered into

   and agreed to the terms of the Parler User Agreement.




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          54.        According to its own press release, “[f]or 14 years, [AWS] has been the world’s

   most comprehensive and broadly adopted cloud platform.” See, Twitter Selects AWS as Strategic

   Provider     to    Serve    Timelines,   Press   Center,   Amazon,     (December      15,   2020),

   https://press.aboutamazon.com/news-releases/news-release-details/twitterselects-aws-strategic-

   provider-serve-timelines. That is why “[m]illions of customers—including the fastest-growing

   startups, largest enterprises, and leading government agencies—trust AWS to power their

   infrastructure, become more agile, and lower costs.” In short, AWS is the world leader of cloud

   platform providers.

          55.        Defendant AWS knew or reasonably should have known that Parler had a User

   Agreement (contract) with its subscribers and users, including Plaintiffs.

          56.        Defendant AWS, through its conduct in suspending Parler’s account on January

   10, 2021, intentionally interfered with and caused Parler, LLC to not perform its contract with

   Plaintiffs under its User Agreement.

          57.        Defendant AWS’s interference with Parler’s User Agreement (contract) with its

   subscribers and users was improper.

          58.        Defendant AWS’s interference with Parler’s User Agreement (contract) with its

   subscribers and users caused Plaintiffs to suffer noneconomic losses which include, but may not

   be limited to: highly unpleasant mental reactions; outrage; anger; frustration; shame; humiliation;

   chagrin; disappointment; worry; inconvenience; and/or severe emotional distress.

                                     COUNT THREE
                     INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

          59.        Plaintiffs hereby incorporate by reference all preceding paragraphs of this

   Complaint, with the same force and effect as if set forth herein.

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          60.     Defendant AWS, through its conduct in suspending Parler’s account on January

   10, 2021, and intentionally interfering with the User Agreement between Parler, LLC and its

   subscribers and users, engaged in extreme and outrageous conduct that has been the subject of

   numerous national and international news reports, articles, commentaries, videos, and social

   media communications, posts, and interactions.

          61.     Defendant AWS, through its conduct in suspending Parler’s account on January

   10, 2021, and intentionally interfering with the User Agreement between Parler, LLC and its

   subscribers and users, did so recklessly or with the intent of causing Plaintiffs to suffer highly

   unpleasant mental reactions, outrage, anger, frustration, shame, humiliation, chagrin,

   disappointment, worry, inconvenience, and/or severe emotional distress.

          62.     Defendant AWS’s intentional conduct, in fact, caused Plaintiffs to suffer highly

   unpleasant mental reactions, outrage, anger, frustration, shame, humiliation, chagrin,

   disappointment, worry, inconvenience, and/or severe emotional distress.

                                      PRAYER FOR RELIEF

          Wherefore, Plaintiffs respectfully request that this Court enter judgment in their favor and

   against Defendant Amazon Web Services, Inc. as follows:

          A.      Grant Plaintiffs’ request for a Temporary Restraining Order and order Defendant
                  AWS to immediately restore and maintain Parler’s account until further notice
                  from this Court and to refrain from suspending, terminating or failing to provide
                  any services previously provided under Parler’s User Agreement with its
                  subscribers and users;

          B.      Award compensation for past and future noneconomic damages as stated herein;

          C.      Award pre and post judgment interest as provided by law; and,



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        D.     Award such further relief as the Court deems just and proper.

                                     JURY TRIAL DEMAND

        Plaintiffs hereby respectfully demand a trial by jury on all issues so triable.


        Dated: January 12, 2021                Respectfully submitted,


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